       Case 1:21-cv-04845-RPK-LB                 Document 102              Filed 04/17/24           Page 1 of 2 PageID #:
                                                         4236
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        April 17, 2024

        VIA ECF
        Magistrate Judge Lois Bloom
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                 Re: Joint Status Letter and Joint Request to Adjourn April 24 Hearing Sine Die
                 Texidor v. Tromberg, Morris & Poulin, PLLC, et al., No. 1:21-cv-04845-RPK-LB

        Dear Judge Bloom:
                The undersigned represents the Plaintiff Luz Texidor in this lawsuit against Defendants
        Tromberg, Morris & Poulin, PLLC f/k/a Stephen Einstein & Associates, P.C. (“Tromberg”),
        Stephen Einstein (collectively with Tromberg, “Tromberg Defendants”), Collins Asset Group,
        LLC (“CAG”), ABC Process Serving Bureau, Inc. d/b/a ABC Process Service (“ABC”), Jay
        Brodsky (“ABC Defendants”), and Azzam Abderrahman 1 alleging violations of the FDCPA and
        related state law.
              I write on behalf of all Parties to provide this Joint Status Report pursuant to Your
        Honor’s March 12 ECF Order 2 and Joint Request to Adjourn April 24 Hearing Sine Die.
                Based on the statements at the March 12 Status Conference, it was the understanding of
        the Parties that the April 24 hearing, and the matters to be address in the pre-hearing Status
        Letter was based on the assumption that the District Court may rule by then on DE 94, the ABC
        Defendants’ Objection to the Report and Recommendation [DE 91] denying their motion to
        dismiss (the “Objection).
               Moreover, the view of the Parties is that the content of any Joint Status Letter would be
        determined in large part by the resolution of the Objection.
                 Consequently, the Parties jointly request the following relief:
            1. The April 24 Status Conference sine die;
            2. Within one week of the ruling by the District Court on the Objection the remaining
               Parties will confer:
                     a. as to whether to seek ADR, and, if so the form and timing of ADR;
                     b. as to if and how to proceed with discovery as to ABC Defendants; and
        1
          Mr. Abderrahman has not appeared in this action, and thus is not included in any reference to “Defendants” made
        herein.
        2
          The ECF Order stated, in relevant part, “The Court shall hold another status conference by telephone on April 24,
        2024 at 3:00 p.m. … As set forth on the record, the parties shall meet and confer regarding their interest in a
        settlement conference and propose a plan for outstanding discovery between plaintiff and the ABC defendants prior
        to the April 24 conference. The parties shall file a joint status letter by April 17, 2024.”
Case 1:21-cv-04845-RPK-LB             Document 102        Filed 04/17/24   Page 2 of 2 PageID #:
                                              4237



             c. as to any other outstanding issues;
      3. Within two weeks of the ruling by the District Court on the Objection the remaining
         Parties will file a Joint Letter addressing the items delineated above.
      This is the first request the April 24 hearing.
      The Parties thank to Court for its consideration.
Respectfully,
/s/
Ahmad Keshavarz
